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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

 ADDIE HARPER                                     CIVIL ACTION NO. 14-cv-0479

 VERSUS                                           JUDGE HICKS

 BIO-MEDICAL APPLICATIONS OF                      MAGISTRATE JUDGE HORNSBY
 LOUISIANA, LLC


                                 ORDER OF DISMISSAL

         The Court having been advised by counsel for the parties that the above action has

 been settled,

         IT IS ORDERED that this action is hereby DISMISSED, without prejudice to the

 right, upon good cause shown within ninety (90) days of the signing of this Order, to reopen

 the action if settlement is not consummated. The Clerk is now requested to close this case.

         IT IS FURTHER ORDERED that within ninety (90) days of the signing of this

 Order, the parties shall submit to the Court: (1) a joint motion to dismiss accompanied by a

 proposed order; or (2) a Rule 41(a)(1)(A)(ii) stipulation of dismissal signed by all parties

 who have appeared in this action. Any motion that may be pending in this case is hereby

 DENIED AS MOOT.

         THUS DONE AND SIGNED at Shreveport, Louisiana, this the 25th day of August,

 2015.
